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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Case No. 19-cr-00507-PAB-1

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1. JOSHUA DAVID GESS,

      Defendant.
 _____________________________________________________________________

                                 ORDER
 _____________________________________________________________________
 ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

        This matter is before the Court on Defendant’s Motion to Reconsider Detention

 Order [#152] (the “Motion to Reconsider”), the Defendant’s Letter, which the Court has

 construed as a Motion for Order [#158] (the “Motion for Order”), the Defendant’s Motion

 for Hearing [#166], the Defendant’s Supplement to Motion to Reconsider Detention

 Order [#174] (the “Supplement”) (collectively, the “Motions”) and the Government’s

 Response to Motion to Reconsider Detention Order [#179]. The Motion to Reconsider,

 Motion for Order and Motion for Hearing have been referred to the undersigned pursuant

 to 28 U.S.C. § 636(b)(1) and D.C.COLO.LCrR 57.1.            The Court has reviewed the

 pleadings, applicable law and entire case file and is fully advised in the premises. For the

 reasons set forth below, the Motions are denied.

                                      I. Background

        In December of 2019, a grand jury indicted the Defendant on one count of



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 possession of a firearm/ammunition by a prohibited person, one count of possession with

 intent to distribute 50 grams and more of methamphetamine, and one count of possession

 of a firearm in furtherance of a drug trafficking crime. [#1]. At the detention hearing held

 on December 13, 2019, the Defendant did not contest detention because he was subject

 to a parole hold by the State of Colorado. [##10,11]; see also Supplement to Motion to

 Reconsider [#174] at 3. The Defendant was, therefore, remanded to the custody of the

 United States Marshal, and was ultimately confined at the Federal Detention Center

 (“FDC”) in Englewood, Colorado, pending trial or disposition of his case [#16].

        Within a short time after he began his pre-trial detention, the Defendant began to

 contend, among other things, that he should be released for a variety of reasons, including

 that he has serious health issues which are not being properly addressed by the Bureau

 of Prisons. See, e.g., Motion for Review and Amendment of Release Order [#23], filed

 December 30, 2019; Amended Motion for Review and Amendment of Release Order [#35],

 filed January 6, 2020; Letter from Joshua David Gess [#51], filed January 14, 2020; Letter

 from Joshua David Gess [#62], filed January 15, 2020; and Motion for Immediate Release

 from Custody [#63], filed January 15, 2020. By superseding indictment dated January 23,

 2020, the Defendant was charged with one count of possession of a firearm/ammunition

 by a prohibited person, one court of possession with intent to distribute 5 grams and more

 of methamphetamine, and one count of possession of a firearm in furtherance of a drug

 trafficking crime. [#86]. The Defendant continued to file documents regarding his allegedly

 inadequate medical care (see, e.g., Letter from Joshua Gess [#132], filed February 13,

 2020; Motion for Status Conference [#149], filed March 25, 2020), until his attorney filed

 the Motion to Reconsider [#152] at issue here on April 22, 2020.

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        In the Motion to Reconsider [#152], the Defendant argues that “the state of COVID-

 19" at FDC, “when coupled with his asthma and other health conditions, provides a

 compelling reason” for his release under the Bail Reform Act. Id. at 2-3. The Motion

 devotes several pages to argument about the inevitability of the spread of the virus at FDC.

 Id. at 4-7. Defendant further asserts that he is not a flight risk because he can be released

 to the custody of his aunt, who is willing to serve as a third-party custodian, and that his risk

 of danger to the community is not outweighed by the risk to him of contracting the virus

 while incarcerated. He also contends that he will drain resources unnecessarily if he

 remains detained, that he is newly sober, and that his criminal history shows little

 propensity for violence. Id. at 8-9. Finally, Defendant asserts that even if he has not shown

 by clear and convincing evidence that he is not a flight risk or a danger to the community

 under 18 U.S.C. § 3142(g), he is nevertheless entitled to “temporary release” under section

 3142(i) of the Bail Reform Act “for another compelling reason,” which is the presence of

 COVID-19 at FDC. Id. at 9-12.         In the Motion to Reconsider [#152], defense counsel

 noted that she did not have copies of the Defendant’s medical records, “but will supplement

 this morning when those records are received.” Id. at 3, n. 3.

        By Order dated the same day, April 22, 2020, the Court required Defendant to

 supplement the Motion to Reconsider [#152] with medical evidence of his asthma, and

 required the Government to respond to the Motion within three business days of the filing

 of any supplement. [#154]. Defendant’s counsel subsequently filed a Motion to Withdraw

 [#155], which prompted Defendant to file a Letter [#158] pro se, in which he stated that the

 following issues were “left out” of the Motion to Reconsider: (1) the Defendant “never got

 a detention order” after the superseding indictment, he reserved his right to reopen the

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 detention issue at his original detention hearing, and he is requesting “a formal detention

 hearing;” (2) his counsel “has record of tx. [sic] for asthma but has not submitted to the

 Court [sic],” he is prescribed Albuterol “which is an inhaler for Asthma,” he has been

 diagnosed with Reactive Airway Disease but no tests have been performed despite

 appropriate medical referrals and recommendations; (3) he had a “colon resection” on an

 unspecified date which required surgical follow-up in December of 2019 that was not

 provided, he has multiple health problems as a result and “the FDC cannot treat me;” (4)

 due to “numerous spinal conditions” and two shoulder surgeries he requires “orthotics,

 standing restrictions, bedding and medication (non narcotic) as well as completing my

 spinal diagnostics for end result in either fusion or nerve ablation;” (5) he wants the Court

 to order his attorney to produce all of his medical records from “Sheridan Health, New

 Health and Sally Jobe;” and (6) he is “in extreme pain everyday with life threatening colon

 issues [he] believes the court could consider when looking at [his] detention. There has

 been new discovery that directly changes the likelihood of conviction that shows the Grand

 Jury was provided misinformation regarding veracity of the facts of [his] case.” Id. at 1-2.

 Attached to the Letter is a “Bureau of Prisons Health Services Medication Summary

 Historical” for Defendant dated May 4, 2020, indicating that he is prescribed “Albuterol

 Inhaler HFA for shortness of breath” as well as other medications not relevant here. Id. at

 4.

        Although it does not pertain to the Motion to Reconsider [#152], it is worth noting that

 the Defendant also sent a letter to the Honorable Christine M. Arguello, a United States

 District Judge not assigned to his case, to request copies of her writings opposing “the

 purity enhancements relating to meth” and contending that he is incarcerated “in a routine

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 drug and gun case . . . not because of my own specific conduct but because I was on

 parole.” Letter from Joshua David Gess [#159] at 1. A few weeks later he sent another

 letter to the Court referring to his “urgent” medical needs and stating that the BOP

 continued to deny him medical care for his chronic medical needs and attempted to coerce

 him to plead guilty in exchange for treatment. Notice to Court [#161] at 1. Three days later

 he filed a document which the Court construed as a Motion for Hearing [#166], in which he

 asserted that he suffers from “ADHD” and had “never had a detention hearing nor did or

 do I waive such,” his medical needs necessitate a detention hearing, he is not receiving

 appropriate medical care and was told by an unidentified person that he will not receive

 care until he pleads guilty and is “transferred to BOP,” he filed a grievance regarding

 medical treatment on which no action was taken, and he was refused a non-elective

 procedure because he is an inmate and at high risk for COVID. Id. at 1.

        On June 16, 2020, Defendant’s counsel filed a Supplement to the Motion to

 Reconsider [#174]. In the Supplement, the Defendant asserted that he suffers from”acute

 respiratory issues that put him at higher risk of severe illness or death if exposed to COVID-

 19,” “he suffers from another medical condition that, while not a COVID-19 risk factor, is

 not being treated,” and other circumstances have changed since his detention that support

 his release. Id. at 1. Regarding the changed circumstances, he stated that the state parole

 hold has been lifted, lab testing revealed that the methamphetamine allegedly possessed

 by him amounted to a mere 8 grams, which led to the superseding indictment, his aunt is

 willing to serve as a third-party custodian, and he has work available on release. Id. at 3.

 He asserts that “he has shown by clear and convincing evidence that he is neither a flight

 risk nor a danger to the community.” Id. The following exhibits are attached to the

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 Supplement:

      •        a copy of a record of the Defendant’s visit to an Urgent Care facility
               dated September 2, 2019 reflecting that the Defendant self-reported
               a history of asthma, and in which the “assessment and plan” refers
               both to “Mild Persistent Asthma without complications” and “Severe,
               intermittent asthma.” The report does not contain the name of a
               medical professional [#174-1];

      •        a copy of a label from the Defendant’s prescription for Prazosin dated
               April 2, 2020 with the following unidentified handwriting: “Hypertension
               e.g. High Blood Pressure” and a copy of a label from the Defendant’s
               prescription for Albuterol Inhaler HFA dated April 28, 2020 [#174-2];

      •        a copy of a June 15, 2020 email from an Assistant Chief Deputy U.S.
               Marshal stating that there are 21 inmates at FDC who have tested
               positive for the COVID-19 virus, 23 inmates in precautionary isolation
               with no symptoms, each new inmate is being tested during intake and
               again after 14 days, and “4 study order pretrial inmates are COVID
               Positive/Quarantined in A-Pod.” [#174-3];

      •        a copy of a patient visit note by Dr. David Longcope regarding the
               Defendant dated April 26, 2019. The patient note reflects that the visit
               related to Defendant’s laproscopic right colectomy for benign polyp
               which occurred three months earlier. Under social history, the note
               reads: “No tobacco use and smoking status: Never smoker.”
               Nevertheless, on the following page of the note Dr. Longcope
               “ordered intervention and counseling on cessation of tobacco use”
               and “recommended continued observation” regarding the Defendant’s
               condition post-colectomy. [#174-4];

      •        a copy of a BOP Health Services Clinical Encounter report dated
               December 31, 2019 on which the Defendant has apparently circled
               the words “multiple level DDD in the lumbar spine,” “looking at nerve
               ablation later,” and “needs follow up colonoscopy.” The report reflects
               a “target date” for an “urgent” colonoscopy of February 28, 2020
               [#174-5];

      •        a copy of a BOP Health services Clinical Encounter report dated April
               2, 2020 on which Defendant has apparently circled “approved to go
               out for follow up colonoscopy after bowel resection.” The report
               further states “No GI side effects, no bowel or bladder control
               problems.” [#174-5]; and

      •        an email from a United States Marshal Service officer to the

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               Defendant’s attorney dated May 14, 2020 stating that the Defendant
               was taken to Rose Medical Center for a colonoscopy on that date but
               “denied entry stating he was considered high risk, and that his
               procedure was not deemed urgent” [#174-6];

        The Government opposes the Defendant’s request for release on conditions,

 pointing out that although the Defendant cites in support “the pandemic itself, his personal

 risk from it, positive cases at FDC Englewood, other medical problems, the superseding

 indictment, and the fact that there is no longer a state parole hold request with the U.S.

 Marshal Service,” he fails to explain how such information is “material to the question at

 issue for detention – whether any conditions of release can reasonably assure the

 appearance of the defendant and the safety of others in the community.” Response [#179]

 at 1. The Government further contends that new information relating to COVID-19 is not

 material to the detention issue, and even if it were, the Defendant fails to demonstrate any

 elevated personal risk. It asserts that the other “new” information offered by the Defendant

 regarding his medical conditions, the lifting of the state parole hold and the superseding

 indictment is not relevant to the detention issue. Id. at 3-8. The Government argues that

 even were the Court to conclude that the issue of detention should be revisited due to

 “new” information, the Defendant nevertheless should be detained under the factors set

 forth in the Bail Reform Act, 18 U.S.C. § 3142. Id. at 9-11. Finally, the Government

 contends that the Defendant has failed to establish compelling reasons for his release

 under 18 U.S.C. § 3142(i). Id. at 11-14.

                                        II. Discussion

        The Bail Reform Act, 18 U.S.C. § 3142(f)(2)(B), specifies that a detention hearing

 “may be reopened . . . if the judicial officer finds that information exists that was not known


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 to the movant at the time of the hearing and that has a material bearing on the issue

 whether there are conditions of release that will reasonably assure the appearance of such

 person as required and the safety of any other person and the community.” (Emphasis

 added). Section (g) of the statute explicitly identifies the factors which the Court must

 consider when assessing whether a defendant is a flight risk and/or a danger to the

 community, which are the nature and circumstances of the offense charged, the weight of

 the evidence against the defendant, and his history and characteristics, including his

 character, physical and mental condition, family ties, employment, financial resources,

 length of residence in the community, community ties, past conduct, history relating to drug

 or alcohol abuse, criminal history, record concerning appearances at court proceedings,

 and the nature and seriousness of the danger that would be posed by his release. 18

 U.S.C. §3142(g)(1)-(4). Hence, the factors set forth in section (g) must be the starting point

 for the determination as to whether a defendant has presented new information that is

 material to the Court’s assessment of whether he is a flight risk and/or a danger to the

 community.

        The Court first notes the permissive language of the statute (i.e., a detention hearing

 “may be reopened”), as well as the lack of authority for the Defendant’s contention that he

 is entitled to a hearing regardless of the Court’s assessment of whether material

 information has been presented or not. The plain language of the statute belies that

 contention, as it specifies that the Court may reopen a detention hearing if the Court finds

 that material new evidence relating to the suitability of bond exists. As explained below,

 the Court does not find that a hearing is warranted in this case.

        The Court next turns to the issue of whether the new information offered by the

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 Defendant is material to assessment of his suitability for release on bond. First, information

 regarding the Defendant’s health problems and the existence of COVID-19 at the FDC has

 limited relevance to the bond determination, for several reasons. First, nothing in the Bail

 Reform Act explicitly directs the Court to consider a defendant’s overall physical health or

 risks to his health from incarceration when determining whether he should be released on

 bond. Second, even were the Court to consider the Defendant’s physical health, his

 evidence only makes apparent his level of unhappiness with the medical care he has

 received at FDC. The BOP’s alleged failure to respond to a grievance regarding the

 Defendant’s medical treatment may provide him with civil remedies, but is not related to

 whether he is a flight risk or a danger to the community. In fact, nothing in the Defendant’s

 medical records convincingly demonstrates that he has not received adequate care or that

 his life is somehow in danger, as nothing in the information provided to the Court infers that

 he suffers from life-threatening health problems. Moreover, information provided by the

 Government about steps taken by the BOP to identify and isolate COVID-19 positive

 inmates, when compared to the wide spectrum of responses to the disease taken by the

 general public (from doing nothing to wearing masks, getting tests and self-quarantining),

 may be interpreted to suggest that the risk of contracting the disease is lower in prison.

 Regardless, the Court finds that information relating to the Defendant’s health issues and

 the COVID-19 virus is not material to the analysis required under the Bail Reform Act.

        Third, the Court further finds that information related to the release of the state

 parole hold on the Defendant is only slightly material to the Court’s determination here,

 because the existence of state proceedings regarding the Defendant does not bear directly



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 on whether he is a risk of flight or a danger to the community.

        Fourth, the remaining information offered by the Defendant, though material to the

 detention analysis, is outweighed by other relevant factors or considerations. For example,

 the fact that the Defendant’s aunt is willing to serve as a third-party custodian is not

 meaningful without further information regarding her age, health, relationship with the

 Defendant, and living situation; nor is the Defendant’s unembellished contention that he has

 work available on release. The fact that the pending charges against the Defendant were

 amended to reflect possession of a lesser amount of methamphetamine does not change

 the fact that he remains charged with using a weapon in furtherance of a drug trafficking

 crime, which makes him a danger to the community.            Moreover, the Government’s

 explanation that after forensic testing, the Defendant was allegedly found with a significant

 quantity of a “cutting agent” used to dilute methamphetamine for the purpose of increasing

 the amount available for sale explains the charges against him relating to drug dealing and

 emphasizes the danger to the community that would be posed by his release. See

 Response [#179] at 8.) The Defendant’s alleged new sobriety, though laudable, is far from

 trustworthy based on his extensive history of drug and alcohol rehabilitation, as well as his

 previous guilty pleas to possession of a controlled substance with intent to distribute and

 conspiracy to distribute/manufacture a controlled substance. See Pretrial Services Report

 [#27] at 3, 9, 10. Moreover, despite his contention that his criminal history shows little

 propensity for violence, the Defendant pled guilty to assault, a felony, in 1994 at age 18,

 in exchange for dismissal of charges of first degree assault with a deadly weapon and

 attempted first degree murder. Id. at 4.        He pled guilty to domestic harassment-



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 strike/shove/kick in 2001 at age 25. Charges of carrying a concealed weapon and

 possession of a defaced firearm were dismissed in exchange for his guilty plea to a drug

 offense in 2014. Id. at 10-11. Eight counts of possession of a weapon by a previous

 offender were dismissed when he pled guilty to first degree aggravated motor vehicle theft

 and possession of methamphetamine in 2014. Id. at 11. Indeed, the Defendant’s lengthy

 criminal history reflects a lifetime of preying on others, which emphasizes his unsuitability

 for release. In addition, he has failed to appear on 20 occasions, which exacerbates the

 risk that he will flee. Id. at 14.

        Finally, the Court addresses the Defendant’s contention that he is entitled to

 temporary release under 18 U.S.C. § 3142(I) for another “compelling” reason. Having

 reviewed each of the “reasons” offered by the Defendant at length above, the Court finds

 none of them, singly or in combination, compel the Defendant’s release on bond.

                                       III. Conclusion

        For the reasons set forth above, the Motions [#152, #158, #166] are DENIED.

        Dated: August 19, 2020




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